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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

REBECCA MULLIN

v.                                                      CASE NO. 3:14CV 723 (JAM)

RAZOR CAPITAL, LLC
NEAL PAUL



                         NOTICE OF VOLUNTARY DISMISSAL

        Pursuant to Rule 41(a)(l), plaintiff hereby dismisses the within action without

costs or fees based on the parties’ settlement agreement.

                                                THE PLAINTIFF




                                                BY____/s/ Joanne S. Faulkner___
                                                JOANNE S. FAULKNER ct04137
                                                123 Avon Street
                                                New Haven, CT 06511-2422
                                                (203) 772-0395


        Certificate of Service

        I hereby certify that on June 4, 2014, a copy of foregoing Notice of Dismissal was
filed electronically. Notice of this filing will be sent by e-mail to all parties by operation of
the Court’s electronic filing system. Parties may access this filing through the Court’s
system.

                                                     ____/s/ Joanne S. Faulkner___
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